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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF DELAWARE


  Nathaniel Miller,                            Civil Action No. 1:17-cv-00642-LPS
                         Plaintiff,
                                               NOTICE OF DISMISSAL AS TO
           – against–                          ENHANCED RECOVERY
                                               COMPANY, LLC ONLY
  Enhanced Recovery Company, LLC,
                       Defendant(s).



       PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

Plaintiff, through counsel, Garibian Law Offices, P.C., hereby dismisses Defendant Enhanced

Recovery Company, LLC only from this action with prejudice. This dismissal has no effect on

any other Defendant.


Dated: April 21, 2020

                                                 Garibian Law Offices, P.C.

                                                 By: /s/ Antranig Garibian
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